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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

 JANSSEN BIOTECH, INC.

                               Plaintiff,

                        v.
                                                      Civil Action No. 1:17-cv-11008-MLW
 CELLTRION HEALTHCARE CO., LTD.,
                                                      REQUEST FOR ORAL ARGUMENT
 CELLTRION, INC., and
 HOSPIRA, INC.

                               Defendants.



               DEFENDANTS’ MOTION IN LIMINE NO. 11: TO PRECLUDE
                 EVIDENCE AND ARGUMENT REGARDING PRE-SUIT
                   COMMUNICATIONS PURSUANT TO THE BPCIA

       Pursuant to Federal Rules of Evidence 401, 402, & 403, Defendants Celltrion Healthcare

Co., Ltd., Celltrion, Inc., and Hospira Inc. (collectively “Defendants”), hereby move this Court to

exclude Janssen from introducing evidence or argument that pre-litigation exchanges under the

Biologics Price Competition and Innovation Act (“BPCIA”) between Celltrion’s and Janssen’s

outside counsel indicate that Celltrion (or Hospira) knew or believed that the accused GE HyClone

cell culture media infringe the ’083 patent. Janssen’s arguments on this topic should be excluded

because they have no probative value and are baseless, irrelevant, misleading, and unduly

prejudicial.

       WHEREFORE, Defendants respectfully request that this Court grant Defendants’ motion

in limine and exclude Janssen’s arguments relating to pre-suit communications.

                                REQUEST FOR ORAL ARGUMENT

       Defendants believe oral argument may assist the Court and therefore request oral argument

on the motion during the scheduled June 11, 2018 hearing. Dkt. 176.
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Dated: May 21, 2018                 Respectfully submitted,

                                    Celltrion Healthcare Co., Ltd., Celltrion, Inc.,
                                    and Hospira, Inc.

                                    By their attorneys,

                                    /s/Andrea L. Martin, Esq. ______________
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                                    Co., Ltd., Celltrion, Inc., and Hospira, Inc.




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                                 LR 7.1(a)(2) CERTIFICATION

        I, Andrea L. Martin, hereby certify that Defendants’ counsel has conferred with Plaintiff’s

counsel and attempted in good faith to resolve or narrow the issue raised in this motion. No

agreement has been reached. Plaintiff has asserted that it will oppose this motion.

                                                  /s/ Andrea L. Martin, Esq.
                                                  Andrea L. Martin, Esq.


                                 CERTIFICATE OF SERVICE

        I, Andrea L. Martin, hereby certify that this document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) and paper copies will be sent to those indicated as non-registered participants on the date

of this filing.


                                               /s/Andrea L. Martin, Esq.
                                               Andrea L. Martin, Esq.




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